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 5   Attorneys for Defendants
     OURARING INC. & OURA HEALTH OY
 6
 7                              UNITED STATES DISTRICT COURT
 8              NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
 9
                                                 CASE NO. 4:23-cv-03433-HSG
10   DR. PETER ATTIA, an individual
                  Plaintiff,                     NOTICE OF INDIRECTLY RELATED
11                                               CASE
12         v.
                                                 Judge: Hon. Haywood S Gilliam, Jr.
13   OURA RING, INC., and OURA HEALTH
     LTD.,                                       Crtrm.: 2, 4th Floor.
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                  Defendants.
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                                             NOTICE OF INDIRECTLY RELATED CASE
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 1
                    Defendants Oura Health Oy and Ouraring Inc. (erroneously sued as “Oura Ring,
 2
     Inc.”) (collectively “Defendants”) hereby provide notice of an indirectly related case, which, as
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     compared to the present case: (i) shares Defendants as defendants; (ii) shares some similar
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     factual allegations in the respective Complaints allegedly engaged in by the same alleged actor;
 5
     (iii) share some similar alleged time frames; and (iv) because of the foregoing share some
 6
     identical issues.
 7
                    Defendants desire to alert the United States District Judge in the present case
 8
     (Hon. Haywood S. Gilliam, Jr.) that the indirectly related case is currently pending in this Court
 9
     before the Hon. Vince Chhabria. Defendants desire to bring the existence of the indirectly
10
     related case to this Court’s consideration for its potential sua sponte action pursuant to Civil
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     Local Rule 3-12(c), and/or its case management and discovery management considerations as the
12
     case progresses.
13
                    NOW THEREFORE, TO THE COURT AND THE PARTIES OF RECORD,
14
     PLEASE TAKE NOTICE of the following indirectly related case:
15
                     Brees Company, Inc v. Oura Health Oy, Oura Ring, Inc., (Northern District
16
     of California Case No. 43:24-CV-08548-VC).
17
18
     Dated: December 13, 2024                                      MCMAHON SEREPCA LLP
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20                                                                  /s/ Peter C. McMahon
                                                                    Peter C. McMahon, Esq.
21
                                                                    Attorneys for Defendants
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                                                       NOTICE OF INDIRECTLY RELATED CASE
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 1                                    CERTIFICATE OF SERVICE
 2
            Pursuant to the Federal Rules of Civil Procedure and Local Civil L.R. 5-1, I hereby
 3
     certify that, on the date stated above, counsel of record for Plaintiff, who has appeared in this
 4
     case, will be immediately served with a copy of the foregoing via the Court’s CM/EDF system.
 5
 6                                                           /s/Peter C. McMahon
      Dated: December 13, 2024
                                                             Peter C. McMahon, Esq.
 7                                                           MCMAHON SEREPCA LLP
                                                             Attorneys for Defendants
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                                                      NOTICE OF INDIRECTLY RELATED CASE
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